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Robert Day
10 Wareham Street /3) c:V //¢?€ LMM/Cé
Carver, MA, 02330 §§ng

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MATTHEW J. DYKMAN
New Jersey State Po|ice CLERK

VS

State Of New Jersey

 

New Jersey Lottery Commission

New Jersey State House

125 West State Street

Lawsuit Demand for Lottery withholding, Lottery Accounting,
Treasury access and full disclosure of Account.

 

 

 

 

 

Case 1'1asy,-,Qs.;e§,-,J,Qu;,e§”ppgiimea;),,,,,aie,q,,ia¢,l,se3 Pane 2 of 5

 

 

 

Robert Day
VS
State of New Jersey, New Jersey State Po|ice and New jersey Lottery Commission.
Complaint letter
Dear New lvlexico Federal Appeals,

Robert H. Day one time won part of a New lersey state lottery. Upon winning the lottery Robert was
contacted by the state of New Jersey in regards to buying state bonds with his winnings. He did but then
elements of corrupt New Jersey Government tried to abscond with the winning by way of denial of the
purchase and then denial of holdings

New Jersey State Po|ice, New Jersey Public officia|s, and Members of the New jersey Lottery
Commission panicked and tried to kill Robert Day. Many people were tried for this in Federal Court in
New ¥orl< and some were executed

The deal then was that once a year New Jersey would send a car for me and then take me to New lersey
so i could see`the bonds and obtain a certified accounting This happened once, maybe twice and then
more criminal proceeding occurred against New Jersey in Judge Mario Cuomo's Court Room in
Manhattan New Vork.

Stocks are also part ofthis bond deal and those have since been handled by New Jersey State officials.
Any denial of the existence of these treasured assets is part of bogus and murderous scheme that was
busted by The New ‘fork State Po|ice and NVPD. '

Robert asks the Navy to call upon The Federal Marshalls Service, The Federal Bureau of lnvestigation,
New York State Po|ice, N¥PD, Judge Mario Cuomo, and Mr. Rudy Giuliani to validate these claims. l
believe President C|inton might have seen these proceedings also and The New York City Po|ice
Commissioner's office monitored the entire tria|.

Conversely and appropriately described as the defendants now for 13 years The New Jersey State Po|ice,
The New Jersey State Lottery Commission, and The State of New lersey should be called upon to answer
these claims that are in fact part of Racketeering convictions upon the three organizations This case was
heard in New Yorl< Federal Court sometime in 2000.

lt was a terrible case and the court has really yet to finish the proceedings in a criminal nature but
criminal damages were also awarded to Robert Day and Robert thinks that accounting and disclosure of
this money should be part of the case also.

Thank You,
Robert Day

774-296-5515

 

 

 

 

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